             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-11      Filed 05/07/25   Page 1 of 4




                                                      Exhibit 11
                        Designations of Deposition Testimony of Kelly Hancock (June 23, 2022)


             Plaintiffs’ Affirmative Designations                          Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’      Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                              Objections
        6:13                   6:17
        9:10                   9:24
       11:14                  12:18
       12:23                  12:25
       13:15                   14:4
       14:19                  14:24
       15:20                   16:3
       16:23                   17:2
       20:16                  20:22
       22:15                  23:24
        24:5                  25:25
        26:1                   26:2
        26:6                   26:8
       34:17                  34:25
       35:21                   36:9
       43:23                   44:6
       45:23                  45:24
        46:1                   46:1
        46:3                   46:5
        46:6                   46:6
       46:10                  46:10
       46:12                  46:12
       46:14                  46:21
        47:4                  51:15
       52:18                   54:7
        54:8                   54:9

                                                          1
             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-11   Filed 05/07/25    Page 2 of 4




             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
       54:11                   54:13
       54:15                   54:19
       54:20                   54:21
       54:23                    55:2
        57:5                   57:14
        58:4                   59:19
       67:22                   71:19
       76:14                   76:20
       77:21                   77:24
        78:1                    78:7
        78:8                    78:9
       78:14                   78:20
       78:22                    79:1
        79:2                    79:4
        79:6                    79:6
        87:6                   87:21
       88:10                    89:7
        89:8                   89:11
       89:13                   89:14
        91:8                    91:9
       91:12                   91:14
       91:16                   91:22
      102:19                  104:11
      104:12                  104:13
      104:17                  105:15
      105:20                   107:4
      108:17                  108:19
       109:1                   109:8
       110:7                  110:12

                                                          2
             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-11   Filed 05/07/25    Page 3 of 4




              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
       111:15                   112:8
       112:15                  112:19
        113:2                   113:4
        113:8                  114:24
        115:3                   115:5
        115:8                  115:13
        116:7                   117:4
        117:5                   117:8
       117:11                  117:24
       117:25                  117:25
        118:3                   118:3
      124:21                   124:24
        125:1                   125:1
        125:3                   125:4
        125:5                   125:6
        125:8                   125:8
      125:10                   125:11
      125:13                   125:13
        131:8                  131:12
      135:23                    137:9
        139:2                  141:14
      141:15                   141:17
      141:20                   141:20
      142:18                    143:3
        143:6                   143:6
        143:8                   144:1
        162:3                   162:7
        163:1                   164:2
       164:11                  164:15

                                                           3
             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-11   Filed 05/07/25    Page 4 of 4




             Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                            Objections
      167:19                  168:10
       169:8                   170:1
       170:8                  171:12
      171:20                   173:9
      173:10                  173:13
      173:15                  173:16
      173:18                  175:24
      176:10                   177:3
      177:19                  177:21
       178:4                  178:19
       179:1                  180:13




                                                          4
